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                                  UNITED STATES DISTRICT COURT
20                                     DISTRICT OF NEVADA

21   ORACLE USA, INC., a Colorado corporation;
     ORACLE AMERICA, INC., a Delaware
22                                                          Case No. 2:10-cv-0106-LRH-PAL
     corporation; and ORACLE INTERNATIONAL
     CORPORATION, a California corporation,           DEFENDANTS’ RIMINI STREET, INC.
23
                                                      AND SETH RAVIN’S MOTION TO
24   Plaintiffs,
                                                      PERMIT DEFENDANTS TO FILE
     v.                                               UNDER SEAL EXHIBITS 1, 2, 3, 4, 5, 7
25                                                    and 8 TO THE DECLARATION OF
26   RIMINI STREET, INC. , a Nevada corporation;      ROBERT H. RECKERS IN SUPPORT
     SETH RAVIN, an individual,                       OF THE PARTIES’ JOINT CASE
27                                                    MANAGEMENT CONFERENCE
     Defendants.                                      STATEMENT
28

                          DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     222884 v1
       Case 2:10-cv-00106-LRH-VCF Document 214 Filed 01/06/12 Page 2 of 3




 1                                        I.       INTRODUCTION

 2            Defendants Rimini Street, Inc., and Seth Ravin (collectively, “Defendants”) respectfully
 3   request that the Court order the Clerk of the Court to file the following documents under seal:
 4            -   Exhibit 1, 2, 3, 4, 5, 7 and 8 attached to the Declaration of Robert H. Reckers in Support
 5                of the Parties’ Joint Case Management Conference Statement.
 6            The un-redacted Exhibits 1, 2, 3, 4, 5, 7 and 8 were individually lodged with the Court on
 7   January 6, 2012. This request is made pursuant to Federal Rules of Civil Procedure 5.2 and 26(c)
 8   and the Stipulated Protective Order entered by the Court on May 21, 2010 [Docket No. 55]
 9   (“Protective Order”).
10                                         II.       ARGUMENT
11            Parties requesting to file documents under seal may overcome the presumption of public
12   access by showing of good cause under Rule 26(c). “The law . . . gives district courts broad latitude
13   to grant protective orders to prevent disclosure of materials for many types of information, including,
14   but not limited to, trade secrets or other confidential research, development, or commercial
15   information. See Fed. R. Civ. P. 26(c)(7).” Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,
16   307 F.3d 1206, 1211 (9th Cir. 2002).
17            Good cause exists for filing the above listed documents under seal.         They have been
18   designated as Confidential or Highly Confidential or they contain content that has been designated as
19   Confidential or Highly Confidential under the terms of the Protective Order. By openly filing the
20   remaining exhibits and documents that do not require confidentiality without seal, Defendants’
21   request is narrowly tailored. Because the above listed documents contain information designated as
22   either “Confidential” or “Highly Confidential—Attorney Eyes Only,” good cause exists to permit a
23   sealing order. See, e.g., Pacific Gas and Elec. Co. v. Lynch, 216 F. Supp. 2d 1016, 1027 (N.D. Cal.
24   2002).
25                                       III.       CONCLUSION
26            For the foregoing reasons, Defendants respectfully requests that the Court find that good
27   cause exists to file under seal Exhibits 1, 2, 3, 5, 7 and 8 to the Declaration of Robert H. Reckers in
28                                                     -2-
     222884 v1      DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
       Case 2:10-cv-00106-LRH-VCF Document 214 Filed 01/06/12 Page 3 of 3




 1   Support of the Parties’ Joint Case Management Conference Statement.      A Proposed Order is

 2   submitted with this Motion.

 3

 4    DATED:        January 6, 2012        SHOOK, HARDY & BACON
 5

 6                                         By:   /s/ Robert H. Reckers_______
                                                 Robert H. Reckers, Esq.
 7                                               Attorney for Defendants
                                                 Rimini Street, Inc. and Seth Ravin
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     222884 v1    DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
